Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

UNITED STATES OF AMERICA
CASE NO. CR418-031

Vv.

)
)
)
)
COREY WILSON, )
)
Defendant. )

)

 

ORDER
Before the Court is Defendant Corey Wilson’s Motion for
Compassionate Release (Doc. 147), as amended (Doc. 152), which the
Government opposes (Doc. 153). For the following’ reasons,
Defendant's motion (Docs. 147, 152) is DENIED.
BACKGROUND
In January 2019, a jury found Defendant guilty of possession
of cocaine with intent to distribute. (Doc. 94.) The Government
sought a sentencing enhancement under 21 U.S.C. § 851 based, in
part, Defendant’s prior federal drug conviction. (Doc. 78.)
Defendant was sentenced to 70 months’ imprisonment, to served
consecutively to the revocation of his federal term of supervised
release. (Doc. 112.) Defendant appealed his criminal sentence to
the United States Court of Appeals for the Eleventh Circuit on
April 15, 2019 and the appeal remains pending. (Doc. 113.)
Defendant also appealed the revocation of his supervised release.
(401CR236, Doc. 158.) According to the BOP website, Defendant is

currently incarcerated at the Coleman Low Federal Correctional
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 2 of 10

Institution (“FCI”) in Sumterville, Florida with a projected

release date of October 31, 2024. See BOP Inmate Locator, Federal

 

Bureau of Prisons, https://www.bop.gov/inmateloc/ (last visited on
July 31, 2020).
ANALYSIS

Defendant seeks compassionate release due to the COVID-19
pandemic. (Doc. 147 at 1.) Defendant contends that his
osteosarcoma, hypertension, and depression put him at higher risk
should he contract COVID-19. (Id.) Defendant also contends that he
is entitled to a sentence reduction because the statutory and
guideline punishment at the time of sentencing was greater than
the current punishment for the same conduct. (Id. at 2.) The
Government opposes Defendant’s request and argues that this Court
should issue an indicative ruling under Federal Rule of Criminal
Procedure 37 deny Defendant’s motion. (Doc. 153 at 1.) The Court
finds that Defendant’s motion seeking compassionate release under
18 U.S.C. § 3582(c) (1) (A) should be denied.
I. THE COURT’S JURISDICTION OVER DEFENDANT'S MOTION

As the Government identifies, Defendant has appealed his
criminal sentence in this case and that appeal remains pending.
(Doc. 113.) In light of the pending appeal, the Court lacks
jurisdiction to decide his motion. Griggs v. Provident Consumer
Disc. Co., 459 U.S. 56, 58, 103 S. Ct. 400, 402, 74 L. Ed. 2d 225

(1982) (“The filing of a notice of appeal is an event of
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 3 of 10

jurisdictional significance-it confers jurisdiction on the court
of appeals and divests the district court of its control over
those aspects of the case involved in the appeal.”); United States
v. Diveroli, 729 F.3d 1339, 1341 (11th Cir. 2013). However,
pursuant to Federal Rule of Criminal Procedure 37, where a timely
motion is made for relief that the court lacks authority to grant
because of a pending appeal, the district court may “defer
considering the motion, deny the motion, or state either that it
would grant the motion if the court of appeals remands for that
purpose or that the motion raises a substantial issue.” Because
the Court would deny Defendant’s § 3582(c) motion if he had not
filed a notice of appeal, in the interests of judicial economy,
the Court reaches the merits, pursuant to Rule 37, and denies the
motion.

It. DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE DUE TO HIS
HEALTH CONDITIONS

 

 

A. Eligibility for Compassionate Release

18 U.S.C. § 3582(c) (1) {A) provides that the Court can reduce

the term of imprisonment upon

motion of the Director of the Bureau of Prisons, or upon
motion of the defendant after the defendant has fully
exhausted all administrative rights to appeal a failure
of the Bureau of Prisons to bring a motion on the
defendant's behalf or the lapse of 30 days from the

receipt of such a request by the warden of the
defendant's facility, whichever is earlier

.

Additionally, 28 C.F.R. § 571.61 requires an inmate seeking a

compassionate release to submit a written request to the prison’s
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 4 of 10

warden. At a minimum, the inmate’s request must contain “[t]he
extraordinary or compelling circumstances that the inmate believes
warrant consideration;” and “[p]roposed release plans, including
where the inmate will reside, how the inmate will support
himself/herself, and, if the basis for the request involves the
inmate's health, information on where the inmate will receive
medical treatment, and how the inmate will pay for such
treatment.” 28 C.F.R. § 571.61(a).

Under § 3582(c) (1) (A), a court may order a sentence reduction
where the court determines, upon consideration of the factors set
forth in 18 U.S.C. § 3553(a), that “extraordinary and compelling
reasons” exist and the defendant does not present a danger to the
safety of any other person or the community. See U.S.S.G.
§ 1B1.13. In its consideration of compassionate release, the Court
is constrained by the applicable policy statements issued by the
United States Sentencing Commission. See 18 U.S.C.
§ 3582(c) (1) (A). The application notes to the applicable policy
statement list three specific examples of extraordinary and
compelling reasons to consider a reduction of sentence under
§ 3582(c)(1) (A): (1) a serious medical condition; (2) advanced
age; and (3) family circumstances. U.S.S.G. § 1B1.13 n.1(A)-(C). A
fourth catch-all category provides: "As determined by the Director

of the Bureau of Prisons, there exists in the defendant's case an

extraordinary and compelling reason other than, or in combination
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 5 of 10

with," the aforementioned three categories. Id. n.1(D). For a
medical condition to qualify as an extraordinary and compelling
reason, the condition must “substantially diminish[] the ability
of the defendant to provide self-care within the environment of a
correctional facility and [is one] from which he or she is not
expected to recover.” U.S.S.G. § 1B1.13, n.1(A) (ii).

In seeking compassionate release, Defendant contends that his
underlying conditions of osteosarcoma, hypertension, and
depression make him vulnerable to COVID-19. (Doc. 147 at 6.) The
Government states that “[w]lith the addition of COVID-19, the
government acknowledges that [Defendant’s] hypertension ‘might’
place him at increased risk,” and notes that Defendant has other
conditions, including a history of osteosarcoma, that may affect
the determination that Defendant’s medical conditions qualify as
an “extraordinary and compelling reason” for release. (Doc. 153 at
16.) Additionally, the Government appears to concede that
Defendant has exhausted his administrative remedies. (Doc. 153 at
5 n.3.) The Court preliminary finds that Defendant has exhausted
his administrative remedies and that his medical conditions
present a compelling and extraordinary reason for release.
However, for the reasons that follow, the Court finds that

Defendant’s motion should be denied.
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 6 of 10

B. Consideration of the Sentencing Factors

 

In considering a defendant’s motion pursuant to 18 U.S.C.
§ 3582(c) (1) (A), the Court must consider the factors set forth in
§ 3553(a). The Court finds that the factors set forth in 18 U.S.C.
§ 3553(a) weigh against releasing Defendant. Section 3553(a)
provides the following factors for the Court’s consideration:

1) the nature and circumstances of the offense and the
history and characteristics of the defendant;

2) the need for the sentence imposed—

A. to reflect the seriousness of the offense, to
promote respect for the law, and to provide just
punishment for the offense;

B. to afford adequate deterrence to criminal conduct;

C. to protect the public from further crimes of the
defendant; and

D. to provide the defendant with needed educational
or vocational training, medical care, or other
correctional treatment in the most effective
manner;

3) the kinds of sentences available;

4) the kinds of sentence and the sentencing range
established .. .;

5) any pertinent policy statement .. .;

6) the need to avoid unwarranted sentence disparities
among defendants with similar records who have been
found guilty of similar conduct; and

7) the need to provide restitution to any victims of the
offense.

Courts may, even after finding a defendant eligible for
compassionate release, find that the § 3553(a) factors weigh

against release. See United States v. Chambliss, 948 F.3d 691, 694

 

(Sth Cir. 2020) (affirming a district court’s denial of a
defendant’s motion for compassionate release where the district
court found that, although the defendant had an extraordinary and

compelling reason for compassionate release, the § 3553(a) factors
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 7 of 10

weighed against a sentence reduction); United States v. Rodd, No.

 

19-3498, 2020 WL 4006427, at *6 (8th Cir. July 16, 2020)
(affirming a district court’s denial of a defendant’s motion for

compassionate release based on the § 3553(a) factors); United

States v. Pawlowski, No. 20-2033, 2020 WL 3483740, at *2 (3d Cir.

 

June 26, 2020) (same); United States v. Kincaid, 802 F. App'x 187,

 

188 (6th Cir. 2020) (same).

In this case, Defendant was found guilty by a jury of
possession of cocaine with intent to distribute in violation of 21
U.S.C. § 84l1(a) (1), § 841(b) (1) (C), and § 851. (Doc. 112.) During
his sentencing hearing, the Court noted Defendant’s prior drug
conviction in 2002 (Doc. 126 at 29) and that Defendant’s
guidelines range was 63 to 78 months’ imprisonment (Doc. 126 at
14). Defendant was sentenced to 70 months’ imprisonment, to served
consecutively to the revocation of his federal term of supervised
release. (Doc. 112.)

While the Court is sensitive to the concerns that Defendant
has for his health and safety to the COVID-19 pandemic, the Court
finds that a reduction in his sentence is not’ warranted.
Considering the § 3553(a) factors, the Court is instructed to
consider the need of the sentence imposed to “to reflect the
seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense,” “to afford adequate

deterrence to criminal conduct,” “to protect the public from
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 8 of 10

further crimes of the defendant,” and “to provide the defendant
with needed educational or vocational training, medical care, or
other correctional treatment in the most effective manner.” 18
U.S.C. § 3553(a). In this case, Defendant committed the instant
offense while on supervised release from a prior federal drug
conviction. (401CR236, Doc. 156.) In April 2002, a jury found
Defendant guilty of one count of conspiracy to possess with intent
to distribute and to distribute in excess of 50 grams of crack
cocaine, and to manufacture in excess of 50 grams of crack cocaine
and one count of possession with intent to distribute five grams
or more of crack cocaine. (401CR236, Doc. 64.) Defendant was
sentenced to 360 months’ imprisonment to be served. (401CR236,
Doc. 83.) Defendant’s sentence was subsequently reduced to 306
months’ imprisonment in July 2008 (401CR236, Doc. 127) and then to
235 months’ imprisonment in December 2011 (401CR236, Doc. 129).
Defendant’s sentence was ultimately reduced to time served in
April 2015, effective November 1, 2015. (401CR236, Doc. 134.)
Defendant’s five-year term of supervised release began on October
30, 2015. (401CR236, Doc. 135.) Defendant was arrested in August
2016 for conduct related to the instant offense (401CR236, Doc.
179 at 7) and Defendant’s term of supervised release was
ultimately revoked due to his conduct in this instant case and he

was sentenced to forty-six months’ imprisonment as to Count 1 and
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 9 of 10

twenty-four months’ imprisonment as to Count 2, to be served
concurrently (401CR236, Doc. 156).

The Court does not find that the sentence imposed should be
reduced. Reducing Defendant’s sentence would not reflect the
seriousness of the offense or provide just punishment. Considering
the fact that Defendant has just begun serving his sentence for
this offense and the fact that he committed this instant drug
offense while on supervised release for a prior federal drug
offense, the Court finds Defendant’s offense serious and not
deserving of a sentence reduction at this time. Additionally, the
Court finds that reducing Defendant’s term of imprisonment at this
time would not adequately provide a deterrence to criminal conduct
and would not promote respect for the law again because Defendant
has shown a history of committing new crimes while on supervised
release. Reducing Defendant’s term of imprisonment to time served
when he began serving his 70 months’ sentence in April 2019 does
not provide just punishment for the offense. The factors weigh
against reducing Defendant’s sentence. Accordingly, the Court
finds that a reduction in Defendant’s term of imprisonment is not
warranted at this time.

III. DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE DUE TO THE
ALLEGED SENTENCING ERRORS

 

Defendant also argues that he is entitled to a _ sentence
reduction due to the “objectively flawed sentence.” (Doc. 147 at

9.) Specifically, Defendant argues that he did not receive the
Case 4:18-cr-00031-WTM-CLR Document 159 Filed 08/03/20 Page 10 of 10

benefit of the 2010 Fair Sentencing Act retroactive rewoction in
crack cocaine sentences or the Fair Step Act’s retroactive good
conduct time credits. (Id.) Defendant's motion on this ground is
due to be denied as well. First, it appears that Defendant is
challenging the sentence in 401CR236. Defendant contends that
applying the changes in the Fair Sentencing Act would reduce his
original sentence from 116 months to 88 months’ imprisonment.
(Doc. 147 at 10.) Defendant’s sentence in 401CR236 was reduced in
December 2011 in response to the Fair Sentencing Act of 2010 (Doc.
129) and his sentence was later reduced to time served in April
2015, before passage of the First Step Act of 2018 (Doc. 134).
Moreover, the Court took Defendant’s arguments concerning the
First Step Act into consideration during his revocation
proceeding. (Doc. 179 at 14-16.) Further, Defendant is appealing
his judgment on revocation (Doc. 158) and this Court is divested
of jurisdiction to consider Defendant’s challenge to his sentence.
CONCLUSION

Accordingly, based on the foregoing, Defendant’s Motion for
Compassionate Release (Doc. 147), as amended (Doc. L25) y, Ads
DENTED.

SO ORDERED this 3" day of august 2020.

Let AP Po
WILLIAM T. MOORE, QR

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 

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